            Case 1:22-cv-00065-BU Document 1-1 Filed 05/17/22                                Page 1 of 35 PageID 6




                                                                                                                          TV / ALL
                                                                                                     Transmittal Number: 24829587
Notice of Service of Process                                                                            Date Processed: 04/27/2022

Primary Contact:           SOP Team nwsop@nationwide.com
                           Nationwide Mutual Insurance Company
                           Three Nationwide Plaza
                           Columbus, OH 43215-2410

Electronic copy provided to:                   Ashley Roberts

Entity:                                       Nationwide Mutual Insurance Company
                                              Entity ID Number 3277054
Entity Served:                                Nationwide Mutual Insurance Company
Title of Action:                              Fair Oaks Apartments, LLC vs. Nationwide Mutual Insurance Company
Matter Name/ID:                               Fair Oaks Apartments, LLC vs. Nationwide Mutual Insurance Company
                                              (12233058)
Document(s) Type:                             Citation/Petition
Nature of Action:                             Contract
Court/Agency:                                 Taylor County District Court, TX
Case/Reference No:                            28509-B
Jurisdiction Served:                          Texas
Date Served on CSC:                           04/26/2022
Answer or Appearance Due:                     10:00 a.m. on the Monday next following the expiration of Twenty days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           The Hodge Law Firm PLLC
                                              n/a

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com




                                                                                                       DEFENDANT’S
                                                                                                        EXHIBIT A
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                             THE STATE t3F TEXAS
                                       Case No. 28609-8
                                   •                                                             ~ - a~-~. ~
NC3TICE TO DEFENDAN7: "The citation shali include t#►e fcyllowing notice to the defrendant:
"You have been sued. You may employ an attorney. If you or yoor attomey do not fiile a
written answer with the clerk who issued th"rs citation by 10:00 a.m. on the Monday next
follovuing the expiration of twent,y deys after you wrere servecf this citation and patition, a
defattlt judgrnent rnay be taken againsfC you. ln adeiiition to filing a writtlen ensvuer wiith the
clorlc, you nay be rerluiredl to make inirtidl disclosures to the other parties oi: this suiL
"1"hese rlisclosures generally must Ise rnado no leter than 30 days after you f•ile your answer
wiith tte clerlk. Find out mor+e at TexasLawWelp.org."
 Tt3: Nadonwide Mntuel lnsurance Compeny
 I~gistered Ag+ent: Corpror;ation Service Cornpany
211 E 7th Street Suite 620
Austin, Texas 78701

Defendant, GR£ET1MGS:

         You are hereby commanded to appear by filing a written answer to the Citation at or
befor+e ten o'cic3cic A.M. of the Nlonday next after the expiration of twenty days after the date of
servico of this citation before the Honoreble 104th Distrlct Court raf Taylor County, Texes, at the
Courthouse of said Count,y in Abilene, Texas,
      Said PisintifiPs Petti"tion was flled in said Court, by Shaun 11V Hodge, 221'i Strand Suite
302 Celveston TX 77550 dn December 29, 2i321 in this case, numbered 28509-B on the docket
of seid court, and styled,

 FiA►iR ir'3AKS APART11diENTS, LLC 1TS. NATiON{NIDE NIUTUJ4L INSL1Ri4NCE CL?IfiiPANY
      The nature of Plaintiffs demand is fuily shown by a true and t;orrect copy of the Citation
accompanying this citetion and mad+e a part hereof.
         The offlcer earecuting this writ sheli pramptly serve the seme according to r+equirements of
1avv, and the mancietes hereof, and make due return es the law directs. -                    -- -
        issued and given under my hend and the seal of said Caurt at Abilene, Texas, on thls the
14th day nf Ailarch, 2022.
Attached Per Request of Attorney;
Cleris's Name and Address;
T,ammy Robinson, District Clerie
Teylor County Courthouee
                                                                                                    ~
Suite 400
                                                                                                    1
Abilene, Texas 73E02
                                                   ~~ e►.a, ~ ~                  ~~ ~   1~ ; .
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       2tf509-B        't04th district Court
       Fair f3alrs Apartrnents, LLC vs. Nationuuide Mutual lnsurance i;nmpany
       Exanuted when ropy is deliveracl.
       This is a true topy rrf tha original citatinn, was dalivasad ta dafendant                                csn tha
                day nf
                                                                                                 , Ufficar
                                                                                          County, Texas

                                                       By:                                       , Deputy
       ADDRESS FM SEIMGE:
       Natir,rtwide Mutua11nsurance Company Registered Agent; Corporation
       Service Company 211 !E 7th Street Suite 620 Austirrt, T'exas 78701
                                                     OFF'1dER'S RETt1Rtti1
       Canie to iiand on the           day of                    , 2t?    , at            , ock
                                                                                             'clo.       .m., and
       axenutted in                     CDunty, Texas by dalivaring tca each of the witNn named dafendants in
       persr3n, a trua ropy of thts Gitation with tha rlata of del►very endorsed than?on, tngether with the
       accompanying copy of the Citation at the fc>ltnwing timas anri pTaces, to-wit:
       Nama                       DateMma               Placa, Drsurae and Distance froin Courthatasa

       And nat axmutad as to the defendanqs),
        Tha diligance used in finding said dafendant{s} being:
       and the r.ausa or failure to execrta this pror,ass is:
       and tha infrarmation raceived as to the whareabouts of sairl dafend"s) being:
       FEES:
       ≥5arvinig Petition and Copy ~
       Totai                       $
                                                                                                               , C7fftcer
                                                                                                        Cflunty, Texas

                                                                 L-IN

                                                                                    Aft•iant



----   In accordance vuith Rule 107. Thze officrzr or auttanrized psrson vsaho serves, or attempts to serve, a citatican
       shall sign tha ratum. The stgnatura is not raquired tn be varified. If tha return is signed by a pason ottmr
       than a sharitf, ccnnnstable or tha derk of ths court, tha ratum must eith+sr bn verifed or be signed under
       pertalty ofi parjury and corrtain the fallovuing statement:
       "My narna is                                            my date nf bittt is.                          and my
       address is
        1 dEt;LARE URdER PENALTY OF PER.Ji.3RY THAT THE Ftr►REGfliNCC IS TRUi= ANd Ct7RREGT.
        Executad in                      daunty, Stata rrf                     , on ftw            day of


                                                                 declaranVAuthoriasd Process Servar

                                                                 (id # 8 expiration of eerti₹ication)
                                                                                                                            Filed 12129)2021 2:31 PA
     Case 1:22-cv-00065-BU Document 1-1 Filed 05/17/22                                           Page 4 of 35 PageID 9             Tammy Robinsoi
                                                                                                                                        District Cled
                                                                                                                                Taylor County, Texa;
                                                                                                                                   Tammy Robinsoi

                                                                  28509-B
                                         CAUSE NO.

 FAIR OAKS APARTMENTS, LLC                                        §                    IltT THE DISTR.ICT +COURT OF
                                                                  ~
      Puina'r;~;                                                  §
                                                                  §
                                                                  §             Tsylor r-ounty -104₹h District Court
 V.                                                               §                                 JUDICL4LL DISTRICT
                                                                  ~
 NA°I'I~`JNWIDE AIUTUAL                                           §
 TNSURANCE COMPANY,                                               §                          TAYLOR +COUNTY, TEXAS
      Defertdant

                                 I'`LAINT1TF'S ORIGIl1TAL pETITIC3IV

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104ywr:'r:911                1 ~r~          ~        ~ rr~   • 1~

         COMES NCW, F.AIE. OAKS APARTMENTS, LLC (hereittafter:rel"erred to as "I'laintiff')>

and ~iles this 1'1;`rinti;~s Oraginal Pshriori, complainin,g af NATIONVVIDE NIUTUAL

INSURANCE COIVIPANY C"TJefendwt"), and for cause of aciian, I'1aintiff would respecMly

sliow Ibis honorable Court Ihe foh©wing:

                                         _0_ _ . E            .        F.   -
                                     ,
                                                         N        $,            U .,    x.   ;




1.       Plaintiff intends discoveryy in fbis case be conducted under #he provisions of Texas Rule of

         Civil ;Procedure 190.4 (Level 3), and request that the Court enter an appropriate scheduling

         order.



2.       I'1aintiffs, Fair t}aks Apartmenls, LLC, is a lilmited 1iability cornpany witli Yts primary place

         of business in Tay7c;!r Cnunty, Texas. It is represented by tlle Hadge Law Firm.

3.       Defendant, I+Tatic►n,wide Mutual Tmumce Cnmpany, is a foreign insiwmce cnmpany

         registered with the Texas IDepartinent of Snsurance engaging in the business of iuswrance


PLAnUrrF ORIGIvnr. PE'r.rrsorr                                                                                         Page I of 15
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       in the State of Texas. Defendant may be served with process by serving its registered agent

       at CORPORATION SER"V10E COlVWAN'Sr', 211 E 7m STREET, SUTTE 624,

       AUSTIN, TEXAS 78701.

                                JURISDICTION AND VENUE

4.     The Court has jurisdiction over this cause of action because the amount in controversy is

       within the jurisrlibtional limits of the CourL Plaintiff is seeking monetary relief over

       $1,000,000.00, including damages of any kind, penalties, costs, expenses, pre-judgment

       interest, and attorneys' fees.

5.     The Court has jurisdiction over Defendant because this Defendant engages in the business

       of insurance in the State of Texas, and PlaintiWs causes of action arise out of this

       Defendant's business activities in the State of Texas.

6.     Venue is proper in Taylor County, Texas, because the insured property at issue is situated

       in this county and the events giving rise to this lawsuit occurred in this county.

                                             FACTS

7.     PLaintiff is the owner of Texas insurance policy 3019402005 (hereinatfter the "Policy"),

       which was issued by Defenrlant.

8.     Plaintiff owns the insured property, which is specifically located at 502 N. Willis St.,

       Abilene, Texas 79603 (hereinailer the "Property").

9.     Defendant sold the Policy insuring the Property to Plaintiff,

10.    t?n or about February 21't, 2021, a statewirle deep freeze Caused extensive damage,

       including a pipe burst, to the insured Property.




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11.   Plaintiff suhnfitfied a c1aiin to Defendant against fihe Policy for damages the Property

      sustained as a result of the storrn evennt. L'1pon information and trelief, Defendant assigned

      numher fi03330-GL to the Aim.

12.   PlaintYff asked tltat Defendant cover the cost of repairs to the Property, pursuant to tlle

      Policy.

13.   Defendant inapected tlLe property and did not issue a paytr►ent to Plaintifffor the damages.

      Defendant clairnrned that policy exclusions applied to the type and cause of damages.

14.   Plaintrff contra.cted with a public arijuster, ~VYr. Ca1 Spoon, to conduct an objective

      evatuation of their darnages.

15.   C}n Apri126th, 2021, Mr. Spoon inspected the Property and found considerable applicable

      covered damages.He provided an estimate and a sworn proof of loss to Defendant the

      fo11owing day.

16.   Shordy thereafter, 1V1r. Spoon conducted ajoint reinspection of tlae property with

      Defendant's representative and, sdlrsequently, made minor adjustments to his estimate

      vvhidh now totaled $3,008,598.96 in covered damages. Dn May 51, 2i121, he provided this

      esfimate to Defendant.

17.   Defendant then deployed Aft. Drew Lindemann, P.F. Associate of Envista Forensics to

      assess the danages snd cmse thereof: Hmvever, his investigation was c1early outcome

      driven and merely reiterated Defendant°s preexisting beliefs.

18.   Defendant, on rnuitiple rrccasions faiXed to properly rnspect the properry and failed to

      properiy scope the loss by inttentianai:iy ignoring areas of damage and turning a blin+l eye

      to the true extent of the loss.




PLAPaW OMG*WAL PKrrrzON                                                                 Paga 3 oi15
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19.    Defendant set about to deny andlor underpay on properly covered damages. As a result of

       Dofendantys unxeasonable immstigation afthe elaim, itruluding notproviding fiill ooveragu

       for the damages sustained by Plaintiffs, as well. as underscoping the damages during its

       investigation and thus denying adequate and suif"icient payment to Plaintiff to repair tho

       Property, Plaintiffs claim bvas improperly adjusted. The niishandlyng ofPlaintiff's claiYn

       has also caused a tlolay in Plaintiff's abifii.y to fully repaiir tho Property, which has resulted

       in additional daimages. Tv this date, Plaintiffhave yet to receive lhe full payment to which

       they ure entifiled under the Pdlicy.

20.    As detailed in the paragraphs below, Defendant wrongfiilly denied Plaintiff's clahrn far

       repairs ofthe Property, even though the Policy provided coverage for losses such as those

       sufferod by Plaintif~'s. Fur#hanore, Defsndant underpaid some ofPlaintiffs claiias by not

       providing ftifl coverage for thu damages sustained by Plaintiffs, as well as under-scoping

       the damages during its investigation.

21.    'po datoy Defendant contiriues to delay in the payment .for the damages to the prcrperty. As

       such, Plaintiffhave not been paid in full for the damages to the Property.

22.    Defendant failed tfl per~'c~rm its contractual diities tn adequately cozupensate Pla:intiffunder

       the terms of the Pblicy. Specifically, it refused to pay the full proceeds of the Policy,

       although rlms dernand was made for prooeetls to be paid in an amount sufficient trs cover

       the dauaged property, and al:l conditir►ns precedent to recovery upon the Policy had been

       uarhud nut an.d aco+amplYshed by the Plaintiffs. Piefendad's concluct constitutes a breach

       of the Ynsurance contract between I)efendant and Plaintiffs.

23.    Defemdant misrepresented to Plaintit'f that cetain datnage to the Property was not covered

       under the Policy, even though the clamage was caused by acoverod occurrence.



PtarrtTHF CDMGMnt. PErrriOrr                                                                 Page 4 of 15
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      Defendant's conduct constitutes a violation oftbe Texas Insurance t;ode, Unfair Settlernent
      1'ractices. '1,'mL INs. Cotw §541.060(a)(1).

24.   Defendant f'ailed to make an attempt to settle Plaintiffs Glaun in a 1'air marruer, altlsough
      they were aware of their liability to P1aintiff under the 1'olicy. Defendant's conduct

      constitutes a violation of tlae Texas Insurance Code, Unfair Settlement Practices. 'T'Ex. INs.

      CoDE §54l..060(a)(2)(A)-

25.   Defendant failcd to explain to Plaintiff the reasons for tbeir offer of an inadequate

      settlernent. SpecYfically, Defendsnt failed to off'er Plaintiff aderluate cornpensation,

      wrtbout any or adequa.te explanatiari wby full payment was not being made. Furtberinore,

      Defendant diid not cornnuricate that any fiitare settlernents or payrnents would be

      forthcoxning to pay for the entire losses coverred under tbe policy, nor did tbey provide any

      or adequate expXanation for tbe failure to adequately settle PlaintiWs claim. Defendant's

      conduct is a°violatlon of tbe Texas Insurance Code, Unfair Settlement Practices. TEx. INs.

      CoDE §54Y.{t60(a)(3).

26.   Deffendant failed to a£6rm or deny coverage of Plaintifrs claim within a reasonable time.

      Slaecifically, Plaintiffdid not reedve tiriely in.tlYcation of acceptance or rejection, regarding

      the fall and entire claint, in writing froxn Defendant. Defendant's conduct constitutes a

      vralation of the Texas Insumnce Code, Unfair Se#tlement Practices. TEx. TNs. CoDE

      §541.060(a)(4).

27.   Defendant refused to fully compensate 1'lsintiffs, under the tenrns of the Policy, even

      tbough Defendaut failed to conduct a reasonable investigattion. Specifically, Defendant

      perfortned an outcome-oriented iuvestigation of 1'lalntifrs claim, which resulted in a

      biased, unfair, and inecluitable evaluation ofPlaintif£"s losses ou the Property. Defendant's



PLaMW OMrZvAL PErrrxarr                                                                    Page 5 of 15
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       eonduct eonstitutes a violation of the Texas Insurance Code, Unfair Settlement Practices.

       TEX. lNs. CODE §541,060(a)(`7).

28.   1"Jefendant failed to rneet its obligations under tlse Texas hisuranee Cnde regarding timely

       aclmowledging Plaintiff7s el"        begisnring an investigation. of Plaintiffs claim, and

       requesting all information reasr,nably necessary to investxgate Plaintiffs claim, vvithin the

       statutoriily mandated time of "receiving notioe of Plairatifrs claim. Defendant's eonduet

       eonstitutes aviolation of the Texas Insurance Code, Prompt Payment of Claims. TFx. INs.

       CoDE §542.t;55.

29.    Defersdant farled to aeeept or deny Plaintiffs fiW1 and entire clainai within the statutorily

       mandated fime ofreceiving dll rrecessary information. Defendant's eonduct eonstitutes a

       violatYan of the Texas Insuranee Code, Prompt Payment of Claims. Tg,x. INs. ConE

             "
       011



30.    Defendant failed to 7neet its ohligations under the Texas Insuranee Code regarding payment

       of elaim wi.thout dela.y. Speoifieally, it has delaycd full payiment ofPlaintijWs clairn longer

       than allowed and, to zlate, Plaintiff have not received full payment for the claim.

       Defendant's eondnct eonstiftites aviolataon of the Texas Insurance Code, Prrsrnpt Payment

       flf CXaims. TEx. M. CoDE §542.058.

31.    P`rom and after the tirne Plaintiff°s elmm ww presented to Defendant, the liability of

       Defendant to pay the full claim in aceordauce vvith the ternais of the Policy was reasc,nably

       e1ear. However, Defendant has refused to pay Plaintiff in full, despite there being no basis

       wbiaatsoever on whioh a reasonable insuranee eompan.y would have relied to deny the full

       payment. Def'endant's oonduet constYtutes a breaeh of the rommon law duty of good faith

       and fair dealing.



PLAmrrW t'?IurMAx. PErrriON                                                               Page 6 of 15
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32.     Defendan lnowingly or reckl,essly made false representations, as described above, as to
        material 1'acts and/or knowingly conceal+ed all or part of material information from

        Plaintil'fs.

33.     As a resnit of Defeniiant's wrongful acts and ornlssrons, Plaintiffwere forced. to retain the

        professYonal services of the a₹torney and law ffim for representation with respect to these

        causes of action.

                                         CAUSES HF ACTIHN

34.     Defeudan₹ is liable to Plaintiff 1'or intentional breach of contract. as 'well as intentional

        violations of the Texas Insurance Code and beceptive Trade Practices Act, intentional

        hreach ofthe cornrraon lary duty of good faith and fair dealing, and comimon law fraud.
                                                ~;           r ,
                                    1121114 ,   ■    I   v

35.    Tlxe Policy is a valid, hinding, and enforceable contraet between Plaintiff and Defendant.

36.    Def'endant's ctandiuct constitutes a breach of fhe insurance contract made beiween

       Del'endant and Plaintiffs.

37.    Defendant's fail°nre and/or refiisal, as described above, to pay the adequa₹e compensation

       as it xs obligated to do under the terus ofthe Policy in questionx and under ₹he laws ofthe

       State of Texas, consti₹utes a hreach of I)efexadant's insurance contract ivith Plaintil:fs.

38.    The Defendant's breach proximately caxtsed PlaintiWs lnjuries and damages.

39.    ,All oonditions precedent re+quired under the Policy have been perforined, excusezl, waived,

       or otherwise sa₹isfied by ₹h+e Plaintiffs.

                   NHNCOMPIaIANCE WITH TEXAS IIOTSYTRAN'CE C(3DE:
                         I7NFAIlt SETTLEMENT PRACTIC;ES




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40.    IJcfendant's conduct constitutes multiplo violations ofthe fiexas Insurance Code, Unfair

       Sctt;lcmcnt p`racticcs. "1Ex, Ii's. CoDE §541.060(a). Al1 violations under this articic are

       madc acti.onable by'1:'Ex. It4s: CoDE §541.151.

41.    13efcndant's unfair sctticnient practicc, as dcscribcd above, ofmisrcpresenting to Plaintiff

       niaterial facts rclating to the covcrage at issuc, constitutcs an unfai.r method of competition

       and an unfair and dcccptive act or practicc in thc busincss ot: insurance. 'lEx, lNs. CoDE

        §54I.OSO(a)(1).

42.    bcfendant's unfair sctticmcnt practioes, as dcscribcd abovc, of hi%ling to attcmpt in good

       faith to effectuatc a. prorrrpt, fair, and equitable settleanent of tbe claiurn, cvcn though

       Dcfcndant's liabilit,y undcr the ;policy was reasonably cicar, corstitutes an urfair rnetliod

       of competition and ari unfair and deceptive act or practice in the busincss of insuran+r,c.

       '1Ex. Tr7s. CoDF, §541.060(a)(2)(A),

43.    I7efendarnt's unfaa.r sctticment practices, as described above, of failing to promptly provide

       the Plaintiffw7ith a rcasonablc explanation ol'thc basis in thc policy, in relation to the facts

       or applicabie raw, for its offcr of a compromise scttlemcnt ofthc craim, constitutes an unl'air

       rnothod raf compctition and an unl'air and doccptivc act or practice in the busiuess ot'

       insurancc. TEx. INs. CoDE §541.O6O(a)(3).

44.    Defenudant's unfair setticmunt practiccs, as dcscribcd abo°vc, ol' failing within a rcasonable

       tim:c to affrm or dony covcrage of thc claim to Plaintiffs, or to submit a reservation of

       rights to plaintiffs, constitutes an unfair mcthod of competitirrn and an unfair and deceptive

       act or practic$ xn the business of insurance. TEx. INs. CoeE §541..060(a)(4).

45,    17cfcndant's unf'fair settlement practices, as dcscribcd above, of rcfusing to pay Plaintiff's

       claixn without conducting a rcasonable invcstigation, constitutes an unfair method of



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       competition and an unfair and deceptive act or practice rn the business of insurauce. '1`Ex.

       INS. CODE §541,000(a)(7).

,46.   Each of the forego%ng unfair settlernent practices were cozrapleted, know%ngly by the

       Defendant and t~vere a producing cause of PlaintifPs injuries and damages.


                             :7   ` " i   1`   7     1      !       ~It

 47.   Tbe Claim is a clairn under an insurance policy tivith tbe Defendant ofwhicb Plaintiff gave

       proper notice. T'he Defendant is liable for the Claim. Defeudant's conduct constitutes

       multiple violations ofthe'Texas Insurance Code, Prompt Payment ofClaims. Ar1violations

       naade under this article are made actionable by'IEx. fNs. CoDE §542.0bU.

 48.   Defendant's failure to acicnowledge receipt ©f Plaintifrs +claim, cooamence Ynvestigation

       of the claim, andlor request from Plaintiff aTl items, statements, and forius that it reasonably

       believed would be reqnirred tivitlii.n tbe apphcable time constrain"ts, as described above,

       coustitutes a nonprompt paynient of clairns and a violation of fiEx. INs. CODE §542.055.

 49.   Defendant's failure to notify Plaintiff'in writing of its acceptance or rejection ofthe claim

       within the applicable time constraints, constitutes a non-prompt paymenfi of tbe claim.

       Ilix,INs. CoDF, §542.056.

 50.   Defendant's delay of the payment of Plaintiffs claim follovving its recerpt of all items,

       statenents, and forms reasona.bly requested and required, longer tban tbe amount of time

       provided for, as descrribed above, constitutes a non-prompt payment of the claim. TEx.

       SNs. CoDE §542.058.

 31.   Each of thie foregoing unfair settlemnt practices were completed lmotvingly by the

       Defendant and were a producing cause of Plaintifi's Wtries and damages.

           ~ .~_ :   IFOUS                               sI M: ~.   ~i



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52.   'fhe Defendant breached the commou law duty of good faith and fair deali.ng owed to

      PlaintiB` by denyyng or delaying payrrsent on the Claim when I7efendant lcnew or should

      have known tbat liability was reasonably clear.

53.   Defendsrnt's failure, as described above, to adequately and reasonably investigate and

      evaluate Plaintiff's claim, although, at that time, Defendant knewv or shourd have known

      by the exercise of reasonable diligence that its lrability -vvas reasonably clear, coustitutes a

      breach of the duty of good faith and fair deafing.

54.   Uefendaut's conduct proxiinn"tely caused Plaintiffinjuries and damages.



55.   Defendan.t's cflnduct violated the T+exas Deceptive Trade Practices Act, TEX. BUS. &

      CflIVI. C+0!DB § 17.41, et seq. (herehtafter the "DTPA") by engaging in "false, misleading

      or decept"rve acts and practioes."

56.   Plaintiff is "consumer[s]" io that Plaiutiff acquired goods andlor services by purchase, and

      the goods andlor services form the basis ofthis actiou.

57.   The Defendant committed numerous violations of the Texas I3TPA, insofar as I3efendant.

      a)      Represented that goods or services have sponsurship, approval, chamcteristics,
              ingredients, uses, benef ts, or rluautities which they do not have,
      b}      Represented that an agreernent confers or involves riglitss remedies, or obligations
              whYcla it does not have +or involve, or which are prohibited by law;

      c)      Failed tu disclose informsition concerning goods or services which was lmown at
              the time of the transaction wh,en such failure tr, disclose such infortnation was
              intended to induce the cousumer into a transaction mto which the consumer would
              not have eotered had the infortuationbeen cisclosed;
      d}      t"senerally engaged in unconscionable courses of action while handling the Claim;
              and/or
      e)      Violated the provisions of the Texas Insorance Code des+cribed herein.



PLAuffffF OIuGnvAL PE=orr     .                                                          Page 10 ot15
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58.   The Defendant took advantage of the Plaintiff.s lack of knowledge, ability, experience or

      capacity to a grossly unfair degree and to the Plaintiff detriment. The Defendant's acts

      also resulted in a gross disparity between the value received and the consideration paid in

      a teansaction involving the transfer of consideration. As a result of the Defendant's

      violations of the DTPA, Plaintiff sufferei actual damages. In addition, the Defendant

      committed the above acts knowingly ancUor intentionally, entitling Plaintiff to three times

      Plaintiffls damages for economic relief.

                                  CONIlMON LAW FItAUD -

59.   Defendant is lYable to Plaintiff for common 1aw fraud.

60.   Each and every one of the representations, as described above, concerned material facts for

      the reason that absent such representations, Plaintiff would not have acted as they did, and

      which Defendant knew were false or made recklessly without any knowledge of their truth

      as a positive assertion.

61.   The statements were made with the intention that they should be acted upon by Plaintiffs,

      who in turn acted in reliance upon the statements, thereby causing Plaintiff to suffer injury

      and constituting common law fraud.

62.   The Defendant knowingly or recklessly made false representations as to material facts

      and/or lmowingly concealed all or part of material information from Plaintiffwith the intent

      of inducing Plaintiff to accept a denial and/or underpayment of insurance benefits. The

      Defendant allowed Plaintiffto use this information, or lack thereof, in justifiable reliance

      in accepting the denial andlor underpayment. Plaintiff relied upon said statements in

      accepting the denial andlor underpayment of the Claim and suffered in,jury as a result.

                                          DAM,AGE5



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63.    Upon the trial of this case, it shall be shown Plaintiff sustained damages as a result of

       Defendant's conduct. Plaintiff respectfully request the Court and jury award the amount

       of loss Plaintiff have incurred in the past and will incur in the future. There are certain

       elements of damages to be considered separately and individually for the purpose of

       determuung the sum of money that wuld fairly and reasonably compensate Plaintiff for

       injuries, damages, and losses, incurred and to be incurred. From the date of the occurrence

       in question uintil the time of trial of this cause, Plaintiff seek every element of darnage

       allowed by Texas 1aw with respect to the causes of action mentioned above, including but

       not limited to Plaintiffs actual damages, policy benefits, pre judgment interest, post

       judginent interest, consequential damages, court costs, attorneys' fees, treble damages,

       statutory interest, and exemplary damages.

64.    Plaintiff would show that a11 the aforementioned acts, taken together or singularly,

       constitute the producing causes of the damages sustained by Plaintiffs.

65.    The damages caused by hail andJor wind have not been properly addressed or repaired in

       the months since the storm, causing fiuther damages to the Property, and causing undue

       hardship and burden to Plaintiffs. These damages are a direct result of Defendant's

       mishandling of PlanntifFs claim in violation of the laws set forth above.

66.    For breach of contract, Plaintiff is entitled to regain the benefit of the bargain, which is the

       amount ofthe claim, together with attorney's fees and pre-judgment interest.

67.    For noncompliance with the Texas Insurance Code, Unfair Settlement Practices, Plaintiff

       is entitled to actual damages, wliich include the loss of the benefits that should have been

       paid pursuant to the policy, mental anguish, court costs, and attorney's fees. For knowing




Pl,AnvaW O%ucnvnr, PErtTTrnv                                                              Page 12 at 15
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      conduct of the acts desorribed above, Plaintilf'ask for threa times actaal damages, TEx. INs.
      CoDE §541.152.

68.   For nonootnplianco with 'I'oxas 7nsurance Code, Prompt Payment of Claims, Plaintiff is
      ontitled to tho c1aim amount, as well as eighteen (18) percont interest par annum on the

      aro.ount of such olaim as damages, togetlaer with attomoy's faos. TEx. Irts. CODE §542.060.

69.   For breach of the comaaon 1aw duty of good faith and fair dealing, Plaintiff rs entitled to

      compensatory damages, including all i'orrns of i.oss resuldng i•"rom the insurer's breach of

      duty, such as additional costs, economio hardship, losses duo to nonpayment ofthe aYnriunt

      the insurer owed, exemplary damages, and damages for emotional distress.

70.   For violations of tho Deceptive Trade Praotioes Act,1'laintiff is ontitled to recover actual

      darnages and up to three times PlaintiWs darrages for economic rolief, along with

      attorn+ey's fees, interest and oourt costs.

71.   For fraud, Plaintiff is entitled to recover aotaal damsges and exemplary damages for

      knowangly fraudulent and malicious representa.tions, aiong with attorney's fees, interest,

      aud court oosts.

72.   For the proseoution and colloction of this claim, Plaintiff have been compelled to engage

      the serv'i+ces oi'the attorney whose narne is subsoribed to this pleading. Therefore, Plaintiff

      is entitled to recover a sum for the reasonable and necessary sorvicas ot'Plain.tiiTs attorn.ey

      in the proparation and trial of thxs action, including any appeals tn the Court of Appeals

      andlor fihu Suprame Court of Texas.

73.   Plaintiff is not making any olaYms for relief under federal, Xaw.




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                                                "    1         1


74.    P1aintiffrequest a juay txial and have tendered any and all requisite fees for sueh a1ong with

       the filing of tl.tis ,Plazntiffls Orxginal l'etition.

                                  REt)UEST FOR DISCLtDSURE

75.    Pursuant to R.ul.e 194 of the Texas Rules of Civil Plrocedure, I3efendant is requested to

       disolose, tvithin ft (50) days of seMce of this request, the information described in Ru1e

        194.2(a)-(I)y

                                                 PIRAYER


       'tiVHEREFORF, Pluintiff respectful:ly reciuest that final judgment be rendered for the

P1ahitiff as fQllows:

       1) Judgment against Z)efendant for actual damages in an amflunt to be determined by the
          JurY"
       2) Statutory benefits;
       3) Trehle damages;
        4) Exemplary and punitive damages;
        5) Pre-judgment interest as provided by la°w;

        6) Post-judgmeu,t interest as provided by law;

        7) Atixirueys' fees;
       8) Costs of suit;
        9) Suoh other au.d further reliefto Avhich Plaintiffmuy be justly entitled.
                                           [Signature Page to Fo1lo~v]




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                             Respectfully Submitted,




                                         ShaunW. Hodge
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     Case 1:22-cv-00065-BU Document 1-1 Filed 05/17/22            Page 19 of 35 PageID 24
                           Automated Certificate crf eService
This automated cert'~'icate af service wes created by the e€iling system.
The filer served this documgnt via emeil generated by the efling system
on the dete and to the persons listed below. The rules gorrerning
cer'~"i ~ates r~f service herre n+~t chenged. Filers rnust stii~ provide e
certiticet+s of service thet complies with e!I eppli+cable rules.
Kendel McLeughiin on beha1f of Shaun Hodge
Ber No. 2,4fl62995
Icrncleughlin@hodgefirm.corn
Bnvelnpe ID: 60373721
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Case Ccrntacts

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                                                                                                                    Tammy Robinsoi
 Case 1:22-cv-00065-BU Document 1-1 Filed 05/17/22                       Page 20 of 35 PageID 25                        District Dleri
                                                                                                                Taytor County, Texe:
                                                                                                                    Tammy Robinssoi

                                                     28509-B
                                   CAIJSE Ni3y

 FAIt OAKS APARTMENTS, LLC                          §              IlN THE DISTRICT C+C?URT OF
                                                     §
      .I'lai~'i.~                                   §
                                                     §
                                                     §          Taylor Gouniy -10d₹h Disiric.t L'ourt
 v'                                                 §                            JUDICIAL DISTRItCI'
                                                     ~
11TA'IIDNWIDDE MITUAL                               §
INSLI'RANCE CC)MTPANY,                              §                  TAYLt)It. COUNTY, 'I'FYAS
      Defendant

                               PLA,INTIFF'S ORIGIiVAL PETITION

TO THE HONOPAELE T[JDGE C)F SAID C(7TJRT:

          CO11ES NOW, FAIR OAKS APART1V1ENTS, LLC (hereinafter refimd to as "Plaintiff'),

and Rles this Plaintiffls Originial Petition, coYuplaining of NATI©NVVIDE MUTUAL

INSURANCE C3WANY (<~Defenrlant"), and for caiise of actian, Plaintiff would respectfully

show this honorable Court the following:


                                  DISC+OVEItY CONTRCIL PLAN

1,        Plaintiff intends discovery in this case be conductetl imder the provrsions of Texas Enle of

          Civil Procedure 190.4 (Level 3), and request that the Court enter an appropriate scheduling

          order.



2.        Plaintiffs, Fair Oaks Apartments, LLC, is a limiteci liability companny with its primary place

          of business in Taylor County, Texas. It is represented by the I3odg$ Law Fum.

3.        Defendant, NationwYrle Mutual Tnsirrance Company, is a' foreign insurance company

          registered with the Trexas Deparlment ofInsurance en;aging in the business ofrnsurance


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      ;in the State ofTexas. Defendant znay be served wsth process by .sarving Yts registered agent
      at CORPC!RATION SERVICE CO11]CPANY, 211 E -fm STREET, SC7ITE 620,

      ,AUSTIN, TEXAS 78701.

                                JURISDICTION AND VENUF,

4.    The Court has jurisdictiori aver tbiis oause of aotion because ti.ie amount in controversy is

      with7n the ,jurisdiotional 1im.i#s uf the Court. Plaintiff is seeldng monetary reliaf over

      $1,000,000.00, inciuda"ng damages of any kinci, penalties, oosts, expenses, pre judgrnent

      intmst, and attorneys' fees.

5.    Thu Caurt has jurxsdiction nver Defandant because ft Defendant eng.ages in the business

      of insurance iri the State af Texas, and PlainfiTs oauses of action arise aut of this

      Defenriant's businms aotivities iu the State ofTexas.

6.    Venue is propar in Taylor County, Texas, because the insureci property at issuo is situatez3l

      rn this oounty and the events gfving rise to tilis ia:wsuit rrcourred in this oaunty.

                                              FACTS

7.    Plain.tiff is the owner of Texas insuran.ce policy 3019402005 (hereinafter ti,.e Y"Policy"),

      whiuh was issued by Defendant.

8.    PL-tintiff uwns the insured prflperty, whYch is specificaily looated at 502 N. VUiilis St.,

      Abilene, Texas 79603 (horeinafta the `Prnperty').

9.    DefenrXant sold the Pohcy insuring the Property tu Plaintiff:

10.   CJn or about p'ebraary 211, 2021, a statewide ciaep freeze oauseci extensive damage,

      including a pipe burst, to the insured Property.




PLAMW OzuGVUL PMrrsox                                                                         PAge 2 of 15
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11.   Plaintiff submitted a elahn tra Defendant against the Policy for darnages the Property
      siistainezi as a resuit ofthhe storrn event. TJpon information and belxel', Defendant assigned

      number 603330-GL to the elain,r.

12.   Plaintiff asked that 13efendant eover the cost of repairs to the Property, iursuant to the

      Poliey.

13.   Defendant inspeeted the property and did not issne a payment to Plaintiff 1'or the damages.

      Defendant elai,rnned that poliey exclusions applied to the type aad cause of damages.

14.   1'lairtiff eontracted with a public ad,juster, Mr. Cal Spoon, to conduet an objective

      evaXuation of their dainagesy

15.   On April 26th, 2C121, 'Mr. Spoon inspeeted the Property and found considerable applieable

      cc»ered damages. He provided an estimate and a sworn proof of loss t~o D►efendant tlie

      following day.

16.   Shortly ther+eaft+er, Mr. Spoan condueted ajoint reinspection af the property with

      Defendant's representative and, sdbsequently, made mEin.or ad,justments to his estimate

      whidh now tataled $3,008,598.9f> in covered damages. On May 51, 2021, he provided this

      estimate to Defertdant.

17.   Defendant then deployed Mr. Drew Lindemann, P.E. Associate of Envista Forensies tv

      assess the damages and eause therenl: Hawever, bu`ts investigation was dlearly outcome

      driven and merely reitera.ted T,tefendant's preexisting beliefs.

18.   ~'lefendant, on multiple oceasions failed to properly inspect_ the property and ftiled to

      properly seope thhe loss by intentionally igaoring areas of damage and turning a blind eye

      to the tnie extent ofthe 1oss.




PLiuvaW OMG'avAL PErMOrr                                                                P'age 3 of 15
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19.   Defendant s+et about to deny and/or underpay on properly covered damages. As u rresult o£

      lDefendant's uxneasonablo invcstigation of the claim, including not providing fiffl coverrage

      for the damages sustained by Plaintiffs, as well as under-scnping thc damages during its

      invcstigation and thus denyiug adecluatu and suff"icicnt paymcnt to Plaintiff to repair the

      Property, Plainti££'s claim was rmprnperly udjustcd. The mishandling o£Plaintifrs +claiYn

      has aIso oausezl a dulay in Plaintiff's ability tr £`ully rcpsir the Property, which hss resulted

      in additinnai damagcs. Tn this datc, Pla.inliffhave ycttn receive the full paymcnt to Nvhich

      thuy are entYtled under thc Policy.

20.   As detailcd in the paragraphs beluw, Defendant wrangfully dcnicd Plaintit'f's claim far

      repairs o£'thc Prolerty} even though tho Policy provided coverage for losses such as thnsc

      suffured by Plaintif£s. Purthermore, Defcndant undcrpaid some +ofPlaintiffs claims by not

      providing M ooverage £or thu dmnages sustained by P1aintiffs, as rvelll as under-scoping

      the damuges during Ytss investigatinn.

21.   To datc, Defendant continues to delsy in the payrnent 1'ur the dainugcs to the property. As

      such, Plaintiff have nnt been paid in full for the dsmages ta the Property.

22.   Dcfendant failed #o perf'arm i#s contractuall duiies to adequately compensate Plainliff'under

      the terms of the Policy. Spccif'ically, it refused to pay the full proceeds nf the Policy,

      a1though duc denand was rnadu £nr prrrcccds to bc paid iun an sznounfi sufficient to cc►ver

      the dsmagcd prnperty, and sil conditions p:reced+ent to rccnvcry upon the Pohcy had been

      cartiud out and accomplxshed by the Plsintiffs. 17cf'endsnt"s conduct cunstitutcs a breach

      nfthe insurunce rontract bctwe$n I3cfendant and Plain#.iffs.

23.   IJe£cndant misreprusonted to Plaintiffthat certain damage to the Property was not coverred

      under the Policy, even though the rlarnage was causcd by a covered occurrence.



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       Defenrlant's conduct cnnstitutes a viulation o#'the Tcxas insurance Code, Unfair Settlernent

       Practiccs. TEx. TNs. CoDE §54l.060(a)(1).

24.    Defendant failed to rnake an attempt to settle Plaintiff's claun in a fair rnanner, althou.gh
       thay r,verc awarc of their liatsility to Plaintiff under the Policy. Defendant's conduct

       constitutas a vinlation of the Texas Insurancc Cade, Unfair Settlement Practices. TEx. INs.

       CODE §541.OGt?(a)(2)(A).

25.    Defenrlant failcd to explain to Plaintiff the reasons for their nffer of an inadequate

       settlument. Spccifivally, Dcfendant failed to u~'+~c Plaintiff adcrluata compensation,

       withraut any ur adequate explanatinn why fu11 payment was not being made. Furthermore,

       Defandant did not cumrnunicate that arty future settlerncnts nr payments would be

       forthcoming to pay for the entire 1usses cuvered under the Pnlicy, nur did they provide any

       or adecluatu explanatinn fnr the failure to adeguately scttic PlaintiWs claim. Defendant's

       +conduct is a vinlation nf the Texas Insurance Cocie, Unfair Sutt7ement Practices. TEx. INs.

       CoDE §541.O60(a)(3).

26.    Dcfcndant failed tu affirn or deny coveragc of Plaintiff's claiim within a reasonable time.

       Specificaily, PlaintiffclYtl not receive timcly indication of acceptance or rejcctinn, regarding

       fihe fiull and entire claiin, in writing from Defen.dant. Defendant's conduct constitutes a

       vialatirrn of the Texas hisurance Code, Unfair gedement Praz;ticcs. 'l'Ex. M. CoDE

       §541.060(a)(4).

27.    Defendant rcfuscd ta fiilly compcnsata P.lain.tiffs, undar the terms of thc Pulicy, even

       though Defendant failed to conduct a reasonahle invesrigatic►n. Specyfically, Defendant
       perfnrmed an tsutcorne-nriented invcstigation of Plaintiff's clairra, tivliich .resultcd in a

       biased, unfair, au.d inequitablu cvaluation of Plaintiff's Iosses on the Pruperty. Dcfendant's



P1.AnfriV (AR1GDUL PEr rsoN                                                                Page 5 of 15
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       r,onduct constitutes a violation of the "Texas Insurance Code, Unfair Settlement Practices.

       T,Ex.:tks. CoDE §54t.b60(a)(7).

28,    Defendant failed to meet its obligatisrns under the Texas hisurance Code regardyng timely

       aclnowledging Plaintifrs claim, be,ginning an investigation nf PlaintiiTs c1aim, annd

       requesting all, inforination reasnnably necessary to investigate Plaintiff's claira, within the

       statutnriily mandated time of meeiving notice bf Plainfffs claim. Dufundant's conduct

       cranstitutes a violation of tbeTexas Insurance Code, Prnmpt Paynent of Claims. T'F-x. INs.

       CODF, §542.055.

29.    I3efendant failed to accept nr deny Plaintiff's fidl and entire dlaiucn within the statutarrily

       mandated tirne ofreeeiving all necessary inforrnation. Defen.dant's condnct constYtutes a

       vinlation of the "fexas Tnsuranee Code, Prompt Paynent of Clairns. TEx. INs. ConE

       §542.056.

3{l.   Defendant failed to xneet its obligations under the Texas insurance Code regardingpayment

       ofclaim without delay. Specifical1y, it bas delayed full payment ofPlaintiff's claim longerr

       tban allowed and, tta date, Plaintiff have ncrt received fiXll paynent fur the ulaim.

       Defendant's conduct constitntes a violativn of the Texas Tnsurance Code, Prnmpt Payment

       of C7aims. fiEx. INs. CoDE §542.058.

31.    P'rnnY an:d after the time PWntiff's nlaun was presented tn Defendant, thu liability of

       Dafendanit tu pay tbe full claim in accordau.ce vvith the tertns of the Policy was reasonably

       claarr. Howevec, Deferi.dant bas refused tu pay Plaintiff in full, despite there being no laasis

       whatsuever vn which a. reasonable insurance company °wuuld bave relied ta deny the fu11

       13ayrnent. Defendant's uonduct constitutes a braach nf the common law duty of gond faith

       and faYr dealing.



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32.   Defendant itiiowingty or rrecklessly made false representations, as descrihed above, as to
      material faets andlor knowingly concealed a1i or part of znaterial iinformation from



33.   As a result of Defendant's wronW aets and omissions, Piainriff were foreed to retnin the

      professional services of the attomey and law firin for representation withh respect to these

      causes of action.

                                    CAUSES ~'!F ACTIiJN

34.   Defendant is iiabl.e to P1aintiff for intentinnal breaeh of eantract, as well as intentionaI

      violations of the Texas Insurenee Cocte and Decepiive Trade Practiees Act, intentional

      breaeh of the eozumon taw duty of gooci faith and fair dealing, and eommon law frraud.
                                  s 44 XTI*: ~~~FUL411Oa l \~~

35.   The Pohey is a vaid, hinding, and enforcesble eontract betvveen Plaintiffand Defendant.

36.   Defendant's conduct constitutes a breach of the insurance eontract nzade between

      Defendant and Piaintiffs.

37.   Defendant's failure and/or .refusal, as describeti above, to pay the adequate compensation

      as it is dbfigated to do under the tem of the Poliny in question, and under the laws of the

      State of Texas, eonstitutes n breach of Defendant's insurance eontrnet with Plainntif`fs.

38.   The Defendant's hreaeh proximately eaused P1aintiTs injuries and dautages.

39.   ,All eonditions precedent required under the I'oiiey have been perfarmed, excused, waivett,

      or otherwise satisfied by the Plaintiffs.

                N'ONCDIVIPLIAANCE WITH TEXAS INSI3RANCE CO►DE:
                        UNFAIR SETTLEIAIENT PRACTICES




PLAUfrEF OxirMALPMMoN                                                                   Page 7 of 15
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40.    Defeyadant's conduct constitutes rnultiple violations of tlie Texw Insurance Code, LTnf'air
       Settlernent p`raetices. TEx Ir.s. CoDF, §541.060(a). All violations under titis article are

       made actionable by TEx INs. CoDE §541.151.

41.    Defendant's unf'air scttlement practice, as described above, of misrepresenting to Plaintiff

       material facts relating to tbe coverage at issue, constitutes an unfair method of coYnpetition

       and au unfeir and decepfiive act or practice in thc business of xnsurance. Tex. INs. CorE

       §541.O6O(a)(1).

42.    Defendant's unffir seWement practiees, as described abovc, of failing to attempt in good

       fiu1rhh tc+ effcctuate a prompt, fair°, and equitabl.e settletnent of tbe clann3 even thouglr

       Defenzlant's liability undex the Policy was reasouably clear, constitutes an •tmfaiur rnethod.

       of competition and an unfair and deceptive act or practice in tbe business of insurancc.

       '1Ex. INs. CoDE §541.060(6)(2)(A),

43.    Defenrlant's unfai.r settlement practices, as described above, of failing to promptl.y provide

       the P1aintiffwith a reasonable explanation ot`the basis in the t'olicy, in r+elation to the facts

       or applicable raw, for its offer of a compromise settlement ofthe claim, constitutes an un.fair

       metborl oi:' competition and a,n unfair and decepfiive act or practicc in tht; business ol~

       insurancre. TFx. Ivs. CoDE §541.060(a)(3).

44.    Del`cndsunt's unfair settlemen:t practices, as described abbbove, esl" failing within a reasnnable

       time to a~f'im or deny covcrage of the clain 10 F'laintiffs, or to submm7it a reservation of

       rights to plaint~'f's, constitutes an unfair method of competitiou and an unfair and deceptive

       act or practice in the business of insurance. '1`Ex. Ns. CoDE §541..060(a)(4).

45,    Defendant's unfair settlement practices, as clescribed above, of refusing to pay Plaintiff's

       claim wwithout con+ducting a. reasonabl$ investigation, constitutes an unfair metborl of



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       competition and an unfair and dcccptivc act or practice in the business of inswrancc. TEx.

       Irrs. CoDE §54t,060(a){7).

46,    Each of the forcgoing unfaair sctticment practices werc completcd knowingly by the

       Dcfcndant and wcrc a producing cause of Plaiuti#rs injurics aud damagcs.

                   1          ~   .                  ,6   111F91           ~ •    .    -~ !

                                            a   6`          T 1'   -   •




4'7.   'I'he Clairn is a claim mnder an insurance poiicy with thc Defcndant of urluch Plaintiff gave

       proper n.otice. The Defeudant is lidble for thc Claixn. Defendant's conduct constitutes

       multiple violations of the Texas Insurancc Code, Prompt Payment ofClairns. All violations

       made under this articic arc madc actionable by TEx. INs. CoDE §542.060.

48.    Dcfendant's failure to acku.owlcdgc reccipt of PlaintiWs ciaim, comnencc invcstigation

       of thc claim, andlor rcctucst from Plaintiff all itcros, statcments, and forms that it reasonably

       believcd would bc requuirrcd within thc applicablc timc constraints, as dcscribed above,

       constitutes a nonprompt payment of claims and a violation af TEx. lrxs. CoDE §542.{155.

49.    Dcfendant's fuilure to notify Plaintiff in writing ofits acccptance or rejection of the c7aim

       withyn the applicabie timc cflnstraints, +ac,nstitutes a nori-prompt paymcnt of thc claim.

       TEx INs. C+oDE §542.056.

30.    Defcndant's deiay of the payment of Plaintiffs claim fo7lowing its receipt of all items,

       stateusents, and forms rcasonably rcquested and required, longcr thau the amount of time

       provided for, as dcscribcd above, constitutcs a nonprompt payment of the claim. TEx.

       Trts. CoDE §542.058.

51.    Each of tlie fore,gfling unfair settlement practices u;crc completed knowingly by the

       Dcfendant and werc a produoing cause of Plaintiffs injuries and damages.




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52.   T"he Defendant breached the common law duty of good faith an+d fair dealing owed to

      Plaintiff tiy denying or delaying payment on the Claim wlaen Defendant knew or shovlrl

      have known that liability was reasonahly clear.

53.   Defendant's failure, as desoribecl aibove, to adequa.tely and reasonably investigate and.

      evaluate p`la~n~~'
                   ~ s claim, although, at that tiine, Defendant knew rsr should have known

      by the exereise of reasonabie diligence that its liability was reasonably elear, constitutes a

      breach of the duty of good faith and fair dealing.

54.   Defendant's conduct proximately oaused Plaintiff injuries and da3mage,s.

           ViDEATIDN t3F TEXAS DECEFTIVE TItAi1E p`ItACTICES ACT

55,   Defendant's conduct violated the Texas Deceptive Trade Practrces Act, °TEX BUS. &

      CflNI. CDDE § t'1.41, et seq. (hereinafter tlie "DTPX") by engagiug in "t'alse, Ynisleading

      or deeeptive acts ancl praetiee.s."

56.   Plaintiff is "consumer[s]" in that Plaintiff acquired goocls and/or services lay purchase, and

      the goods anti/or s+ervim fonn the basis of this aefion.

57.   The Defendant committed numerous violations of the Texas DTPA, insofar as Defentlant:

      a)      Represented that goods or services have sponsor,ship, approval, charaeteristies,
              ingredients, uses, benefifis, or quantities which they do not have,
      b)     Represented that an agreement confers or involves riglits, remedies, or bbligations
             which it does not have or involve, or which are p:rolkibited by law;
      c)     Failed to diaclose Ynformation concernYng goods or servioea which was known at
             the tbne of the transaction when such failure to disclose such information was
             intended to induce the consumer into a tranaaction into which the consumer would
             not have entered had the infortnation been disclosed,
      d)      Cienerally engaged in unconscionable courses of action while handling the Claim;
              anr/or
      e)     Violated the provisions of the Texas Insurance Code described herein.



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58.    The L)efendant took advantage of the Plaintiff's lack of lca.ovvledge, ability, exparience or

       capacity to a grossly unfair degree an.d to the Plaintiff detriffient. The Defendant's acts

       also resulted in a gross disparity between tha value received and the conside,ration paid in

       atransaotion involving the transfer of consideration. As a ressult of the T)efendant's

       violations of fihe D'I'PA, Plaintiff suffered actual damages. 7.n addition, the I7efendant

       oomrnitted the above aots knowingly andlor intentionally, entitling Plaintiff to three times

       Plaiutiff°s damages for economic relief.

                                   COMMON LAW FRAUD

59.    P►efendant is liable to Plaintifffor cornmon law fraud.

6{l.   Each and every one ofthe representatitans, as described above, oonoerned rnaterial facts for

       the reason that absent suoh representations, Plamtiff would not have acted as they dirl, and

       which Defendant knew were false or made recklessly without any knowledge of their truth

       as a positive assertion.

61.    The statements were rnade °with the intention that tlyey should be acted upon by Plaintiffs,

       tivho in turn acted in reliance upon tbe statements, thereby causing Plaintiffto suffer injury

       and oonstituting oommon law fraud.

62.    The Defendant knovviugly or reciclessry rnade false representations as to matnrial facts

       anc3lor knowingly concealed all or part of materid inl'ornYation: from Plaintiffwith the intennt

       of induoing Plaintiff tv accept a deniar an.dlor underpaysnent of insuranco benefits. The

       17ofendant a11owecl P1aintiff'to use this information, or 1ack thereot in justifiahle reliazace

       in acoepting the denial and/or underpayrn.ent. Plaia,tiff arel<ied upon said statements ui

       aocepting the denial andlor underpayrnent of the Claim and suffered in,jury as a result,

                                           ~




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63.     L1pon the trial of tlus case, it shall be sh+owwn Plaintiff sustairaed zlamages as a result of
        Del'endant's co.nduct. Plaintiffrespectfially request the Court and jury award the amount

        of loss Plaintiff have incurrecl xn the past and will incur in the future. There are certain
        elements uf damages to be considered separately anti individually for the pmpose ol'

        determining the sum of nloney that would fairly and reasonably compensate Plaintiff for

        injuries, dunages, and losses, incwed and to be incurred. From the dateof the occurrence

        in question until the time of trial of this cause, Plaintiff seek every eiement ofdamage

        allorved by Texas law with respect to the causc~~s of aoEion mentioned ahove, iucluding but

        not litnited tra F'laintiffs actual damages, pclicy beu,+efxts, pre-juclgment interest, post

        judgmeut antemst, consequenttal damages, court costs, atfiorueys' 1'ee.s, treble damages,

        statutory interest, and exernplary damagcs.

64.     Plaintiff would show that all the aforemeniioned actsy taken together or singularly,

       +constitute the producing causes of the damages sustained by Plaintiffs.

65.     The damages causecl by hnil andlor wind have not been properly addressed or reepaired in

       the months since the storm, causing furtb.er rlamages to the Property, and causing undue

        hardshYp and burden to Plairitiffs. These damages are a clirect result of Defendarit's

        ~aishandling ofPlaintiTs claim iu, violation ofthe laws set frnrnfih above.

66.    For breach of contract, Plaintiff is enfitled to regain the benehit ofthc bargaairt, which is the

       amount ol'thc claim, together with attorney's fees and pre-judgment internst.

67.    For noncomplxance with the Texas Insurance Code, "Cl`nfair Settlement Practices, Plaintiff

       xs entitletl tra actual damages, which include tlie Ioss of the benefits that should have been
       paid pursuant to the policy, mental anguish, cr,urt costs, and attorney's fees. For knoSving




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      conduct of the acts described above, Plaintiff ask for three times actual damages. TEx. INs.

      CoDE §541.152.

68.   For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiff is

      enfiitled to the claim amount, as well as eighteen (18) percent interest per annum on the

      amount of such claim as damages, together with attomey's fees. TEx. Irts. CoDE §542.060.

69.   For breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to

      compensatory damages, including all forms of loss resulting from the insurer's breach of

      duty, such as additional costs, economic hardship,losses due to nonpayment of the amount

      the insurer owed, exemplay damages, and daynages for em+otional distress.

70.   For violations of the Deceptive Trade Practices Act, Plaintiff is entitled to recover actual

      damages and up to three times Plaintiffs damages for economic relief, along with

      attorney's fees, interest and court costs.

71.   For $aud, Plawtiff is entitled to recover actual damages and exemplary damages for

      knowingly fraudulent and malicious representations, along with attorney's fees, interest,

      and court costs.

72.   For the prosecution and collection of this claim, PlaintYffhave been compelled to engage

      the services ofthe attorney whose name is subscribed to this pleading. Therefore, Plaintiff

      is entYtled to recover a sum for the reasonable and necessary services of Plaintitfss attorney

      in the preparation and trial of this action, including any appeals to the Court of Appeals

      and/or the Supreme Court of Texas.

73.   Plaintiff is not making any claims for relief under federal law.




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                                         JURY DEMAND

74,.   Plaintiffrequest a jury trial and have tendered any and all requisite fees for such along with

       the filing of this Plaintirs Ur•igirral Petition.

                                REOUEST FOR DISCL03URE

75.    Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Defendant is requested to

       disclose, within fifty (5t?) days of secvice of tliis request, the information described in Rule

       194.2(a)-(I)•

                                              PRAYER


       WHFRFFORE, Plaintiff respectfiilly request that final judgment be rendered for the

Plaintiff ss follows:

       1) Judgment against Defendant for actual damages in an amount to be determined by the
          Jury;
       2) Statutory beneffts;
       3) Treble damages;
       4) Exemplary and punitive damages;
       S) Pre-judgment iunterest as provided by law;
        b) Postjudgment interest as provided by law;

       7) Attorneys' fees;
       $) Costs of suit;

       9) Such other and fiuther relief to which Plsintiffmay be justly entitled.
                                         [Signature Page to Follow]




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                            Respectfiilly Submilferl,


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                                    k~      . . . ..          •'    _          .. ..._       .....


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